Case 1:24-cv-12400-FDS   Document 6-2   Filed 09/26/24   Page 1 of 3




            EXHIBIT B
      Case 1:24-cv-12400-FDS       Document 6-2     Filed 09/26/24   Page 2 of 3




July 23, 2024


Dear Ryan,
Agrovana rejects Congo’s claim as specified in the email shared on July 11th.


Reasons:
  1. Contract: In established contracts, we would review and take into consideration
     customer requests regarding additional product specifications, or any other
     detailed requirements. A contract would have also outlined how we mitigate
     disputes. We have NO such contract, neither written nor verbal, in place with
     Congo other than your Purchase Order and acceptance of the COA shipped with
     each batch, which in itself is an enforceable contract.
  2. Congo's own product specification (Document Number: COM-0000293) of
     coconut water powder shared on March 22nd, 2024, shows no standard for dark
     spots of caramelized/carbonized coconut water powder. Congo’s “Internal
     Coconut Water Powder Inspection Protocol” is an internal standard operating
     procedure (SOP) that was never shared or agreed upon mutually.
  3. Testing conducted by Eurofins and shared as part of the claim confirms that the
     material shown on claim for all the samples except for the sample coming from
     lot K-CWP10A8 comes from the spray drying of coconut water, resulting in
     insignificant caramelized/carbonized pieces being included in the product stream.
     Congo's own internal SOP of zero dark particles is not attainable in bulk
     commercial food-grade items, even the international standards for sugar identify
     a foreign insoluble fiber limit of 60 mg/kg (source: ICUMSA). Congo's internal
     standard needs to be in line with the commercial expectations of food-grade bulk
     items.
  4. The specification of “no foreign material” is not attainable on bulk food grade
     items and is NOT enforceable, especially when NOT specified or agreed on as
     part of a purchase contract. In the absence of these items, the “foreign material”
     or “not to spec” matter falls into the standard FDA definition of foreign material
     which has to be 7mm long, which the overwhelming majority of claimed items are
     NOT. (CPG Sec. 555.425 Foods, Adulteration Involving hard or Sharp Foreign
     Objects)
  5. As part of the PO terms, the Coconut Water Powder was delivered to the OL-
     India Warehouse as agreed by the PO and the COA was shared and accepted
     by Congo and the material possession has been transferred to Congo. Congo’s
     SOP was not followed by the QC team in either rejecting or approving the
     product upon reception and the referenced material was all taken into inventory.
     Once possession is taken, product responsibility resides with Congo.
      Case 1:24-cv-12400-FDS        Document 6-2     Filed 09/26/24    Page 3 of 3




In total, in the absence of an agreed standard for coconut water powder which fails to
include standards for dark spots of coconut water powder, third-party quality testing that
shows that the foreign material perpetrated in the claim that comes from the drying
process of coconut water and completed purchase agreement which the ownership of
the material has been transferred to Congo, coupled with Agrovana’s non-deviation of
previously agreed and accepted process flow, Congo’s claim for delivered and accepted
coconut water powder and any finished product made with the said ingredient is
rejected for the all the aforementioned lots and as show of good faith Agrovana accepts
claim for lot K-CWP-10A8 and will replace with a new lot.


Best Regards,
Agrovana
